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                                      UNITED STATES DISTRICT COURT
  PHILIP J. DEVLIN                     WESTERN DISTRICT OF TEXAS                                         ANNETTE FRENCH
  CLERK OF COURT                          800 Franklin Avenue Room 380                                     CHIEF DEPUTY

                                                 Waco, TX 76701

                                                   August 30, 2024

Rebecca Connolly
MORRIS, MANNING & MARTIN, LLP
1600 Atlanta Financial Center
3343 Peachtree Road, N.E.
Atlanta, GA 30326

Re:     Civil Case No. 6:24-cv-00110; Atlas Global Technologies LLC v. Vantiva SA

        Our records indicate that you are not admitted to practice in this Court. Western District of Texas Local Court
Rule AT-1(f)(1) states:

              In General: An attorney who is licensed by the highest court of a state or another federal district court,
              but who is not admitted to practice before this court, may represent a party in this court pro hac vice
              only by permission of the judge presiding. Unless excused by the judge presiding, an attorney is
              ordinarily required to apply for admission to the bar of this court.

        You were included as an attorney of record on a recent filing in the above-named cause. If you are
representing a party, please submit a motion requesting the Court’s permission to appear in the above captioned case.
(Pro hac vice admission is on a per-case basis. Previous pro hac admission will not apply to future cases.) If you wish
to file an application to be admitted in the Western District of Texas, the application forms and the Local Rules for the
Western District of Texas are available on our website www.txwd.uscourts.gov. If you are an attorney who maintains
his or her office outside of the Western District of Texas, the judge may require you to designate local counsel. (Local
Rule AT-2).

        If you have any questions concerning this matter, please contact our office.
                                                       Sincerely,
